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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

UNITED STATES OF AMERICA,                              CR 18-23-M-DLC

                    Plaintiff,
                                                               ORDER
            vs.


WILLIAM DALE NEWHOFF, JR.,

                    Defendant.



      Upon Petition of Cyndee L. Peterson, Assistant United States Attorney for

the District of Montana, and good cause appearing therefore,

      IT IS HEREBY ORDERED that the Clerk of this Court issue a Writ of

Habeas Corpus (For Prosecution) directing the Warden of the Montana State

Prison, the Warden of the Missoula County Detention Facility, and the United

States Marshal for the District of Montana, to produce WILLIAM DALE

NEWHOFF, JR. before the Court at the United States Magistrate Judge’s

Courtroom in Missoula, Montana at 1:15 p.m. on Thursday, June 7, 2018, and

WILLIAM DALE NEWHOFF, JR. is to stay in federal custody until judgment in

this cause is issued. WILLIAM DALE NEWHOFF, JR. shall then be returned to




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the custody of the Warden, Missoula County Detention Facility, Missoula,

Montana.

      DATED this 1st day of June, 2018.


                                              _____________________________
                                              Jeremiah C. Lynch
                                              United States Magistrate Judge




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